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                         EXHIBIT B
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION
                                      :
  ROOT INC., et al.,                  :  Case No. 2:23-cv-512
                                      :
              Plaintiffs,             :  Judge Sarah D. Morrison
                                      :
       v.                             :  Magistrate Judge Elizabeth P. Deavers
                                      :
  BRINSON CALEB SILVER et al.,        :
                                      :
              Defendants.             :

    PLAINTIFFS, DEFENDANT QUANTASY & ASSOCIATES, LLC, DEFENDANT
   WILLIAM CAMPBELL, AND PROPOSED NEW DEFENDANT QUANTASY, LLC’S
    JOINT STIPULATIONS REGARDING SECOND AMENDED COMPLAINT AND
                     MOTION TO DISMISS BREIFING

        Plaintiffs Root, Inc., Caret Holdings, Inc., and Root Insurance Agency, LLC (collectively,

 “Plaintiffs” or “Root”), Defendants Quantasy & Associates, LLC, William Campbell, and

 Proposed New Defendant Quantasy, LLC stipulate to the following:

       On February 14, 2023, Root filed its First Amended Verified Complaint for Damages

        (“First Amended Complaint”) against Quantasy & Associates, LLC and William

        Campbell, among other Defendants.

       On May 11, 2023, Quantasy & Associates, LLC and William Campbell filed a Motion to

        Dismiss Plaintiffs’ First Verified Amended Complaint (the “Motion to Dismiss”) (ECF No.

        94).

       On June 22, 2023, Root filed a Response in Opposition to The Motion to Dismiss Filed By

        Quantasy & Associates, LLC and William Campbell (ECF No. 135).

       On July 13, 2023, Quantasy & Associates, LLC and William Campbell filed their Reply in

        Support of Their Motion to Dismiss Complaint (ECF No. 145).



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       Contemporaneously with this Stipulation, Root is filing a motion for leave to file a Second

        Amended Complaint.

       Quantasy & Associates, LLC, William Campbell, and Quantasy, LLC consent to the filing

        of the Second Amended Complaint. By consenting to the filing of Second Amended

        Complaint, Quantasy & Associates, LLC, William Campbell, and Quantasy, LLC do not

        waive and/or limit their rights under the Federal Rules of Civil Procedure with respect to

        the Second Amended Complaint outside of the stipulations herein.

       The only difference between the First Amended Complaint and the Second Amended

        Complaint is the addition of Defendant Quantasy, LLC.

       The allegations and claims in the Second Amended Complaint concerning Quantasy &

        Associates, LLC and Quantasy, LLC are identical.

       To avoid unnecessary and duplicative briefing under Federal Rule 12, the Parties hereto

        stipulate that the Motion to Dismiss, Response, and Reply (ECF Nos. 94, 135, 145,

        respectively) are applicable to the Second Amended Complaint.

       The Parties hereto further stipulate that the terms “Quantasy & Associates, LLC” and

        “Quantasy” in the Motion to Dismiss, Response, and Reply should be read to include both

        Quantasy & Associates, LLC and Quantasy, LLC. Therefore, the Motion to Dismiss and

        Reply may be considered filed on behalf of Quantasy & Associates, LLC, Quantasy, LLC,

        and William Campbell.

       This Stipulation eliminates the need for Quantasy & Associates, LLC, Quantasy, LLC, or

        William Campbell to file new responsive pleadings or motions.

       The Court may therefore decide the Motion to Dismiss on the previous filings (ECF Nos.

        94, 135, 145). The Parties hereto stipulate that the Court’s decision on the Motion to


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        Dismiss with respect to Quantasy will apply to both Quantasy & Associates, LLC and

        Quantasy, LLC.



 SO STIPULATED:
  /s/ William D. Kloss, Jr.                       /s/ Matthew D. Ridings
  William D. Kloss, Jr. (0040854)                 Matthew D. Ridings (0079402)
  VORYS, SATER, SEYMOUR AND PEASE LLP             THOMPSON HINE LLP
  52 East Gay Street, P.O. Box 1008               127 Public Square, 3900 Key Center
  Columbus, Ohio 43216-1008                       Cleveland, Ohio 44114
  Telephone: 614.464.6360                         Telephone: 216.566.5561
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  wdklossjr@vorys.com                             Matt.Ridings@ThompsonHine.com

  Counsel for Plaintiffs                          Counsel for Quantasy & Associates, LLC,
                                                  Quantasy, LLC, and William Campbell




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                                CERTIFICATE OF SERVICE
        I hereby certify that a true and accurate copy of the foregoing was served on this 6th day

 of September 2023, via CM/ECF upon all counsel of record for Quantasy & Associates, LLC,

 Quantasy, LLC and William Campbell, and via regular mail upon Paige McDaniel, Brinson Caleb

 Silver, Collateral Damage, LLC, and Eclipse Home Design, LLC as set forth below:

  Paige McDaniel
  5576 Alexanders Lake Rd.
  Stockbridge, GA 30281

  Brinson Caleb Silver
  Butler County Jail
  Attn. Brinson Caleb Silver
  Inmate # 303850
  705 Hanover Street
  Hamilton, OH 45011

  Collateral Damage, LLC
  101 N. Brand Blvd.
  11th Floor
  Glendale, CA 91203

  Eclipse Home Design, LLC
  651 N. Broad Street
  Suite 201
  Middletown, DE 19709


                                                     /s/ William D. Kloss, Jr.
                                                     William D. Kloss, Jr. (0040854)




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